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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 21-61375-CIV-DIMITROULEAS
 BRIAN WRIGHT,
                                                              Magistrate Judge Snow
        Plaintiff,
 vs.

 AMERICAN SECURITY INSURANCE
 COMPANY,

       Defendant.
 ____________________________________/

          ORDER SETTING TRIAL DATE & DISCOVERY DEADLINES,
   REFERRING CASE TO MEDIATION & REFERRING DISCOVERY MOTIONS TO
                  UNITED STATES MAGISTRATE JUDGE

        THIS CAUSE is before the Court upon receipt of the parties’ Joint Scheduling Report.

 It is thereupon, ORDERED AND ADJUDGED as follows:

                                       Trial Date & Location

        1. This case is set for trial on the two-week calendar commencing Monday, July 11,

 2022. Counsel for all parties shall appear at a calendar call commencing at 10:00 A.M. on

 Friday, July 08, 2022. Unless instructed otherwise by subsequent order, the trial and all other

 proceedings in this case shall be conducted in Courtroom 205B at the U.S. Courthouse,

 299 E. Broward Boulevard, Fort Lauderdale, Florida.

                                          Motion Practice

        2. Every pretrial motion filed in this case shall be accompanied by a proposed order

 granting the motion. The order shall contain an up-to-date service list of all attorneys in the

 case. Proposed orders should be submitted by email to Dimitrouleas@flsd.uscourts.gov in Word

 format. The email subject line and the name of the attachment should include the case number

 and a short description of the attachment.
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                                         Pretrial Schedule

        3. Pretrial discovery shall be conducted in accordance with Local Rules 16.1 and 26.1

 and the Federal Rules of Civil Procedure. No pretrial conference shall be held in this action,

 unless the Court determines, sua sponte, that a pretrial conference is necessary. In setting the

 following deadlines, the Court has considered the parties’ suggested discovery schedule. Dates

 and other agreements between the parties not otherwise addressed herein shall be considered part

 of this Order. To the extent this Order conflicts with the Local Rules, this Order supercedes the

 Local Rules.

                Motions To Amend
                Pleadings/Add Parties                 – Wednesday, September 15, 2021

                Discovery Cutoff                      – Friday, January 28, 2022

                Substantive Pretrial Motions          – Monday, April 04, 2022

                Daubert Motions                       – 60 days before calendar call

                Mediation Cutoff                      – 60 days before start of the trial’s two-week
                                                      calendar

                Mandatory Pretrial Stipulation        – Friday, June 24, 2022

                Motions in Limine                     – Friday, June 24, 2022

                Responses to Motions in Limine        – Friday, July 01, 2022

                Jury Instructions or Proposed
                Findings & Conclusions                – Friday, July 01, 2022

                Voir Dire Questions                   – Calendar call

                Exhibit List for Court                – First day of Trial (impeachment excepted)

                Witness List for Court                – First day of Trial (impeachment excepted)




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                                  Mandatory Pretrial Stipulation

        4. Counsel must meet at least one month prior to the beginning of the trial period to

 confer on the preparation of a Pretrial Stipulation in accordance with Local Rule 16.1E.

 A Pretrial Stipulation lacking substance will not be accepted. Any party causing a unilateral

 pretrial stipulation to be filed will be required to show cause why sanctions should not be

 imposed. Each attorney and each self-represented party is charged with the duty of complying

 with this Order. A motion for continuance shall not stay the requirement for the filing of the

 Pretrial Stipulation and, unless an emergency situation arises, a motion for continuance will not

 be considered unless it is filed at least twenty (20) days prior to the calendar call. Failure to

 comply with the time schedule may result in dismissal or other sanctions.

                                        Consent Jurisdiction

        5. In light of the benefits offered by a trial before a magistrate judge, e.g., trial on a date

 certain as opposed to placement on a trial calendar, the parties are urged to consider this option.

 Therefore, within twenty (20) days of the entry of this Order each attorney is ordered to meet

 with his/her client and discuss this option. Plaintiff’s counsel shall monitor this process. If there

 is not unanimity in favor of magistrate jurisdiction, plaintiff’s counsel need do nothing further.

 If, however, there is unanimity in favor of magistrate jurisdiction, plaintiff’s counsel shall

 execute the form (available at http://www.flsd.uscourts.gov/default.asp?file=general/forms.asp)

 entitled “Notice of Right to Consent to Disposition of a Civil Case by a United States Magistrate

 Judge,” and forward the original, executed form to defendants’ counsel. After completion by all

 defendants or their counsel, the original form should be forwarded to the Clerk of the Court, Fort

 Lauderdale Division.


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                                             Mediation

        6. Pursuant to Federal Rule of Civil Procedure 16 and Local Rule 16.2, this case is

 referred to mediation as follows:

                a. All parties are required to participate in mediation. The mediation shall be

 completed no later than sixty (60) days before the scheduled trial date.

                b. Plaintiff's counsel, or another attorney agreed upon by all counsel of record and

 any unrepresented parties, shall be responsible for scheduling the mediation conference. The

 parties are encouraged to avail themselves of the services of any mediator on the List of Certified

 Mediators, maintained in the office of the Clerk of this Court, but may select any other mediator.

 The parties shall agree upon a mediator and advise the Clerk’s Office of their choice in writing

 within fourteen (14) days from the date hereof. If there is no agreement, lead counsel shall

 promptly notify the Clerk in writing and the Clerk shall designate a mediator from the List of

 Certified Mediators, which designation shall be made on a blind rotation basis.

                c. A place, date, and time for mediation convenient to the mediator, counsel of

 record, and unrepresented parties shall be established. The parties shall jointly submit proposed

 Order Scheduling Mediation for entry by the Court.

                d. Pursuant to Local Rule 16.2.E, the appearance of counsel and each party or

 representatives of each party with full authority to enter into a full and complete compromise and

 settlement is mandatory. If insurance is involved, an adjuster with authority up to the policy

 limits or the most recent demand, whichever is lower, shall attend.

                e. All proceedings of the mediation shall be confidential and privileged.

                f. At least fourteen (14) days prior to the mediation date, each party shall present


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 to the mediator a confidential brief written summary of the case identifying issues to be resolved.

                g. The Court may impose sanctions against parties and/or counsel who do not

 comply with the attendance or settlement authority requirements herein who otherwise violate

 the terms of this Order. The mediator shall report non-attendance and may recommend

 imposition of sanctions by the Court for non-attendance.

                h. The mediator shall be compensated in accordance with the standing order of

 the Court entered pursuant to Rule 16.2.B.6, or on such basis as may be agreed to in writing by

 the parties and the mediator selected by the parties. The cost of mediation shall be shared equally

 by the parties unless otherwise ordered by the Court. All payments shall be remitted to the

 mediator within forty-five (45) days of the date of the bill. Notice to the mediator of cancellation

 or settlement prior to the scheduled mediation conference must be given at least three (3) full

 business days in advance. Failure to do so will result in imposition of a fee for two hours.

                i. If a full or partial settlement is reached in this case, counsel shall promptly

 notify the Court of the settlement in accordance with Local Rule 16.2.F., by the filing of a notice

 of settlement signed by counsel of record within ten (10) days of the mediation conference.

 Thereafter the parties shall forthwith submit an appropriate pleading concluding the case.

                j. Within seven (7) days following the mediation conference, the mediator shall

 file a Mediation Report indicating whether all required parties were present. The report shall also

 indicate whether the case settled (in full or in part), was adjourned, or whether the mediator

 declared an impasse.

                k. If mediation is not conducted, the case may be stricken from the trial calendar,

 and other sanctions may be imposed.


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                             Discovery Referred to Magistrate Judge

        7. In accordance with 28 U.S.C. § 636 and the Magistrate Rules of the Local Rules of the

 Southern District of Florida, the above-captioned cause is referred to United States Magistrate

 Judge Snow for appropriate disposition of all pretrial discovery motions, and all motions that

 relate directly to these motions, such as motions for extension of time, motions for

 reconsideration, motions for sanctions, and motions for mental or physical examinations. This

 Order does not refer any motion which requests a continuance or extension of the trial or pretrial

 scheduling dates.

                                              Exhibits

        8. Exhibits must be pre-marked and exchanged prior to execution of the Pretrial

 Stipulation. Each exhibit should be marked with a sticker identifying the case number, exhibit

 number, and party offering the exhibit.

           Jury Instructions or Proposed Findings of Fact and Conclusions of Law

        9. In cases tried before a jury, each party shall submit joint, stipulated proposed jury

 instructions and a joint, stipulated proposed verdict form in hard copy form and by email to

 Dimitrouleas@flsd.uscourts.gov in Word format. All requested instructions shall be typed on a

 separate page, and except for Eleventh Circuit Pattern instructions, must be supported by

 citations of authority. Any objections to the proposed instructions shall be stated clearly and

 concisely and also shall be supported by citations of authority.

        Alternatively, in cases tried before the Court, each party shall file proposed Findings of

 Fact & Conclusions of Law in hard copy form and by email to Dimitrouleas@flsd.uscourts.gov

 in Word format. Proposed Conclusions of Law must be supported by citations of authority.


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                                            Settlement

        10. If a case is settled, counsel are directed to inform the Court promptly at (954) 769-

 5650 and to submit an appropriate stipulation Order for Dismissal, pursuant to Fed. R. Civ. P.

 41(a)(1). Such an Order must be filed within ten (10) days of notification of the Court.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

 this 26th day of July, 2021.




 Copies furnished to:

 Magistrate Judge Snow
 All Counsel of Record




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